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IN THE UNITED sTATEs I)ISTRICT COURT Fi!.fiti 7// """"O'
FoR THE WESTERN DISTRICT oF TENNEssEE 1 q_ ,,
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UNITED STATES OF AMERICA )
Plaintiff, §
VS § CASE NO. 04-20197-D
J'OSE MENDOZA §
Defendant. ))
)
ORDER TO SURRENDER

 

The defendant, Jose Mendoza, having been sentenced in the above case to the custody of
the Bureau of Prisons and having been granted leave by the Court to report to the designated facility,

IS HEREBY ORDERED to surrender to the Bureau ofPrisons by reporting to FCI BEAUMONT SCP,
P.O. Box 26025, Beaumont, Texas 77720 by 2:00 p.m. on THURSDAY, JUNE 30, 2005.

IT IS FURTHER ORDERED that upon receipt cfa copy of this Order the defendant shall sign
one copy of this Order in the proper space below and return it to the Clerk of the Court in the enclosed selt`-
addressed envelope, acknowledging that he/she has received a copy of this Order, and that he/she Will
report as ordered to the facility named above.

ENTERED this theé’rv(day OfMay, 2005.

  

ERNICE B. ONALD
UNITED STATES DISTRICT JUDGE

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ACKNOWLEDGEMENT

I agree to report as directed above and understand that
if I fail to report, I may be cited for contempt of
Court and if convicted, may be punished by
imprisonment, fine or both.

Signed:

 

Defendant

Date:

 

ISTRICT COURT - WE'T'RN DISTRCT oFTENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 140 in
case 2:04-CR-20197 Was distributed by faX, mail, or direct printing on
May 9, 2005 to the parties listed.

 

 

April Rose Goode

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Honorable Bernice Donald
US DISTRICT COURT

